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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

                                   §
 MARVELL SEMICONDUCTOR, INC.       §
 MARVELL ASIA PTE., LTD., and MARVELL
                                   §                     Civil Action No. 6-07-CV-204 LED
 INTL., LTD,                       §
                                   §                    Jury Trial Demanded
                Plaintiffs and     §
                Counterdefendants, §
                                   §
           v.                      §
                                   §
 COMMONWEALTH SCIENTIFIC AND       §
 INDUSTRIAL RESEARCH ORGANISATION, §
                                   §
                Defendant and      §
                Counterclaimant.   §


  DECLARATION OF D. JEFFREY RAMBIN IN SUPPORT OF MOTION TO COMPEL
       SONY COMPUTER ENTERTAINMENT AMERICA, INC. AND SONY
          ELECTRONICS, INC. TO PRODUCE 30(B)(6) DEPONENTS

 I, D. Jeffrey Rambin, declare as follows:

        I am an attorney at the law firm of Capshaw DeRieux LLP and counsel of record for

 CSIRO. I am a member of the bar of the State of Texas. If called upon to do so, I could and

 would testify truthfully as follows:

        1.      Attached hereto as Exhibit A are true and correct copies of the November 23,

 2009 subpoena and deposition notice issued to Sony Computer Entertainment America, Inc.,

 along with the return of service for the same.

        2.      Attached hereto as Exhibit B are true and correct copies of the November 23,

 2009 subpoena and deposition notice issued to Sony Electronics, Inc., along with the return of

 service for the same.




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         3.       Attached hereto as Exhibit C is a true and correct copy of email correspondence

 with Dan Herp, Counsel Sony Computer Entertainment America, Inc, from December 2 to

 December 10, 2009.

         4.       Attached hereto as Exhibit D are true and correct copies of a January 20, 2010

 email to Dan Herp of Sony Computer Entertainment America, Inc., along with the cases attached

 to that email.

         5.       Attached hereto as Exhibit E is a true and correct copy an email conversation with

 Dan Herp of Sony Computer Entertainment America, Inc., which took place on January 27-28,

 2010.

         6.       Attached hereto as Exhibit F is a true and correct copy of a November 30, 2009

 letter from Aaron Muranaka, counsel for Sony Electronics, Inc.

         7.       Attached hereto as Exhibit G are true and correct copies of the December 2, 2009

 certificate of non-appearance regarding Sony Computer Entertainment America, Inc., along with

 the exhibits thereto, which include a letter from SCEA acknowledging receipt of the subpoena.

         8.       Attached hereto as Exhibit H are true and correct copies of the November 30,

 2009 certificate of non-appearance regarding Sony Electronics, Inc., along with the exhibits

 thereto.

         9.       Attached hereto as Exhibit I are true and correct copies of the January 21, 2010

 subpoena and deposition notice issued to Sony Computer Entertainment America, Inc., along

 with the return of service for the same.

         10.      Attached hereto as Exhibit J are true and correct copies of the January 21, 2010

 subpoena and deposition notice issued to Sony Electronics, Inc., along with the return of service

 for the same.



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        11.     Attached hereto as Exhibit K are true and correct copies of the January 28, 2010

 certificate of non-appearance regarding Sony Computer Entertainment America, Inc., along with

 the exhibits thereto.

        12.     Attached hereto as Exhibit L are true and correct copies of the January 28, 2010

 certificate of non-appearance regarding Sony Electronics, Inc., along with the exhibits thereto.

        13.     Attached hereto as Exhibit M is a true and correct copy of email correspondence

 with Warren Heit from January 29 to February 2, 2010.

        14.     Attached hereto as Exhibit N is a true and correct copy of email correspondence

 with Julieta Lerner from January 22 to February 23, 2010.

        15.     Attached hereto as Exhibit O is a true and correct copy of the Motion to Quash

 hearing in MicroUnity v. Dell, 2:04-cv-00120-TJW.

        16.     Attached hereto as Exhibit P is a true and correct copy of portions of Sony

 Corporation’s SEC form 20-F reporting as of March 31, 2009, as downloaded from the investor

 relations website of Sony Corporation.

        17.     Attached hereto as Exhibit Q is a true and correct copy of a “Letter to

 Shareholders” by the CEO of Sony Corp, as downloaded from the investor relations website of

 Sony Corp.

        18.     Attached hereto as Exhibit R is a true and correct copy of a webpage advertising

 the PS3 from sony.net,.

        19.     Attached hereto as Exhibit S is a true and correct copy of the Sony Corporation of

 America Factsheet, available from sony.com.

        20.     Attached hereto as Exhibit T is a true and correct copy of PS3 marketing done by

 SCA, available from sony.com.



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        21.    Attached hereto as Exhibit U is a true and correct copy PS3 marketing done by

 Sony Computer Entertainment, Inc., as seen on its website.

        22.    Attached hereto as Exhibit V is a true and correct of the About Sony Computer

 Entertainment America page, as available on SCEA’s website.

        23.    Attached hereto as Exhibit W is a true and correct copy of PS3 marketing done by

 SCEA, available from its website.

        24.    Attached hereto as Exhibit X is a true and correct copy of the Sony Electronics

 Corporate Overview, as available on SEL’s website.

        25.    Attached hereto as Exhibit Y is a true and correct copy of PS3 marketing done by

 SEL via the SonyStyle website.

        26.    Attached hereto as Exhibit Z is a true and correct copy of the biographies of Sir

 Howard Stringer, Nicole Seligman, and Kaz Hirai, as maintained on the website of SCEA.

        27.    Attached hereto as Exhibit AA is a true and correct copy of Sony Corporation

 organizational structure information, as maintained on the website of Sony Corporation.

        28.    Attached hereto as Exhibit BB is a true and correct copy of the statements of Kaz

 Hirai, as given in an interview to the Times of UK and as shown on their website.

        29.    Attached hereto as Exhibit CC is a true and correct copy of correspondence with

 Warren Heit regarding the stipulation for answer extension.

        30.    Attached hereto as Exhibit DD is a true and correct copy of correspondence

 between counsel for CSIRO and counsel for Marvell regarding the stipulation.

        20.    Attached hereto as Exhibit EE is a true and correct copy of the revised stipulation

 circulated by Marvell on March 11, 2010.




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        I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.

        Executed this 12th day of March 2010 in Longview, Texas.




                                             /s/ D. Jeffrey Rambin
                                             D. Jeffrey Rambin




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